Estate of Douglas Chandor, Deceased, Ina K. Chandor, Administratrix, and Ina K. Chandor, Petitioners, v. Commissioner of Internal Revenue, RespondentEstate of Chandor v. CommissionerDocket No. 52350United States Tax Court28 T.C. 721; 1957 U.S. Tax Ct. LEXIS 146; June 27, 1957, Filed *146 Decision will be entered under Rule 50.  Douglas Chandor, a portrait painter of international reputation, now deceased, after the Yalta Conference conceived the idea of painting a group picture of the "Big Three" of the conference, President Franklin D. Roosevelt of the United States, Winston Churchill, Prime Minister of Great Britain, and Marshal Joseph Stalin, head of the Russian Government.  In order to paint the group picture it was first necessary to paint study portraits of each of the three.  The first two sat for Chandor and he painted their study portraits. Stalin refused to sit for the painting of his picture and Chandor's idea of painting the group picture fell through on that account and it was never painted. In 1948, Chandor sold the Churchill study portrait, which he had owned for more than 6 months, for $ 25,000 and returned the gain as capital gain under the provisions of section 117, Internal Revenue Code of 1939.  The Commissioner determined that the gain was ordinary income and taxable to petitioners under section 22 (a) of the 1939 Code.  Held, the study portrait of Churchill which petitioner sold was a capital asset which Chandor had owned for more than*147  6 months and was not property held by him primarily for sale to customers in the ordinary course of his trade or business and petitioners are entitled to capital gains treatment under section 117 of the 1939 Code.  J. M. McMillin, Esq., for the petitioners.Frank C. Allen, Esq., for the respondent.  Black, Judge.  BLACK *722  The Commissioner has determined a deficiency in income tax against petitioners for the year 1948 of $ 10,494.32.  The deficiency is due to several adjustments made by the Commissioner to the net income as reported by Douglas and Ina K. Chandor, husband and wife, on their joint return for the*148  year 1948.  Only one of the adjustments made by the Commissioner is in controversy.  That adjustment is "(b) Income from sale of portrait $ 12,625.00." This adjustment is explained in the deficiency notice as follows:(b) It is held that the amount of $ 25,000.00 received from the sale of the portrait of Winston Churchill in the year 1948 was not gain from the sale or exchange of capital assets within the limitation provisions of Section 117 of the Internal Revenue Code but rather was ordinary income taxable under Section 22 (a) of the Code.The petitioners contest by an appropriate assignment of error this adjustment.FINDINGS OF FACT.A substantial part of the facts has been stipulated and as stipulated is incorporated in these findings by reference.During the taxable year 1948, Douglas Chandor, now deceased, and Ina K. Chandor were husband and wife and were residents of Weatherford, Texas.  Douglas Chandor, deceased, will sometimes hereinafter be referred to as petitioner.For the taxable year 1948, petitioner and Ina K. Chandor filed a joint income tax return on the community property basis with the then collector of internal revenue for the second district of Texas at Dallas. *149  The petitioner was a portrait painter of international renown and for many years prior to the year involved, as well as the year involved, the painting of portraits was his only profession and business.  The principal source of income of the petitioner for many years prior to the year involved was from fees charged for painting portraits after being commissioned to paint the portrait of a particular individual.  This was true also for the year involved and later years, up to his death in 1953.  He always required a contract to be signed before he would start work on a picture.During the year 1945, a meeting between the heads of the governments of the United States, Great Britain, and Russia, known as the Yalta Conference, was held.  The three principal conferees at the Yalta Conference were Franklin D. Roosevelt, President of the United States, Winston Churchill, Prime Minister of Great Britain, and Marshal Joseph Stalin, head of the Russian Government.  Petitioner conceived the idea of painting a group portrait of the three main conferees and calling it "The Big Three at Yalta." The matter was presented to President Roosevelt and he approved the idea and agreed *723  to, and*150  did, sit for a portrait of himself to be included in the group.  Petitioner believed that such a group picture would have great historical importance, while portraits of each individual would have no particular significance due to the fact that very numerous portraits of each were in existence.A painter, in painting a group picture, first makes a portrait of each individual of the group which is called a "study" and, working from this study, paints the subject into the group picture.President Roosevelt granted sittings for the purpose of painting the study portrait and this portrait was completed shortly before his death.  President Roosevelt obtained the agreement of Prime Minister Churchill to sit for a study portrait to be used in the group picture; Churchill's study portrait was completed in 1946, the sittings being at Miami, Florida.  All efforts were unsuccessful in obtaining Marshal Stalin's consent to sit for a painting of a study portrait of himself and this caused the collapse of the whole idea of a group picture.After the collapse of the group picture plan, the petitioner had on hand the study portraits of Roosevelt and Churchill.  Petitioner's expressed intention was*151  to keep both of these and, in fact, his widow (Ina K. Chandor, petitioner herein) still holds the Roosevelt portrait.Petitioner had never painted a portrait or picture for resale and had never sold a portrait or picture up to this time.  Churchill, after the collapse of the group picture plan, made a request of Chandor that if he ever sold the Churchill portrait he would like very much for his friend Bernard Baruch to have it.  In view of this request from Churchill, petitioner decided to sell the Churchill portrait to Baruch.  Such sale was made in the year 1948, after being held for more than 6 months, and was for the sum of $ 25,000.On their income tax return for the year 1948, petitioners reported the sale price of the Winston Churchill portrait as the sale of a capital asset held in excess of 6 months.  Petitioners also reported on their joint return for 1948 gross receipts from commissioned portraits painted by petitioner of $ 59,150.  After the deduction of certain expenses from these gross receipts the net profit therefrom was reported as ordinary income.  None of this is in controversy here.The expenses incurred by a professional portrait painter in connection with the*152  painting of portraits of individuals, after he receives a commission to paint the particular portrait, are for: Canvas, oil paints, brushes, and expenses of maintaining the studio, whether it be at the painter's regular studio or away from the painter's regular studio if the portrait is painted elsewhere at the request of the subject.The expenses ordinarily incurred in the painting of a portrait were incurred in the painting of the portrait of Winston Churchill at Miami, Florida, during the years 1945 and 1946, and were claimed as deductions on the income tax returns of the petitioners for those years.*724  In a protest, protesting the action of the Internal Revenue Service in holding that the sale of the Churchill portrait was not the sale of a capital asset, filed with the internal revenue agent in charge at Dallas, Texas, on February 25, 1952, which was prior to the death of petitioner Chandor and which protest was signed by Douglas Chandor and Ina K. Chandor, it is stated, among other things, as follows:The Winston Churchill picture was made as an artist's study.  The artist had no contract to paint the picture and there was no intent to sell it at the time it was executed. *153  Every artist of renown at some time during his life has painted certain pictures which are kept in his studio as studies.  Usually these studies are never disposed of until after the death of the artist.Right after the Yalta Conference Mr. Chandor had an idea that he might obtain a commission to paint a picture of the Big Three at the Yalta Conference.  The three were Roosevelt, Churchill and Stalin.  At that time it was the hope of everyone that Russia would cooperate with other nations in obtaining world peace.  The study was made of Churchill and also one of Roosevelt, but due to the turn of world events a study of Mr. Stalin will never be made.  The study of Roosevelt now hangs in the artist's studio.The study portrait of Winston Churchill painted by petitioner Douglas Chandor and sold in 1948 to Bernard Baruch was not property held by the taxpayer primarily for sale to customers in the ordinary course of his trade or business.  It was a capital asset under the provisions of section 117, Internal Revenue Code of 1939.OPINION.Much has been written concerning the Yalta Conference and its influence on future events.  These are matters for the historian to appraise and are beyond*154  the province of our discussion.We have but one issue in this proceeding to decide and that is whether the sale in 1948 by petitioner of the Winston Churchill portrait, which he had painted, was the sale of a capital asset and entitled to capital gains treatment under the provisions of section 117 of the 1939 Code, as petitioners contend, or whether the sale was one of property held by the taxpayer primarily for sale to customers in the ordinary course of his trade or business and the gain resulting from such sale is ordinary income taxable to petitioners as such under the provisions of section 22 (a) of the 1939 Code, as the Commissioner has determined.It is undisputed that petitioner had owned the portrait for more than 6 months prior to its sale, that he recovered his cost basis as an expense, and that the amount which he received from the sale was $ 25,000.  Apparently there are no substantial differences between the parties as to the facts.  The differences between them are as to the *725  proper construction to be given to the applicable statutes and Treasury regulations.  1*155  Respondent's principal contention is that the Churchill portrait was property held by petitioner primarily for sale to customers in the ordinary course of his business and therefore is expressly excluded from being classed as a capital asset by the provisions of section 117 (a) (1) (A), 1939 Code.  Petitioners, on the other hand, contend that although petitioner was engaged in the business of painting portraits, yet it was always for an agreed price under contract and that he was never engaged in the business of painting portraits for sale and that the only portrait ever sold by petitioner was the Churchill portrait. Therefore, argue petitioners, the Winston Churchill portrait was not "property held by the taxpayer primarily for sale to customers in the ordinary course of his trade or business" as provided in section 117 (a) (1) (A) of the 1939 Code.We shall now take up the language used in section 117 with a view of ascertaining whether the sale of the Churchill portrait falls within the classification of the sale of a capital asset as defined in the statute and is therefore entitled to capital gains treatment as petitioner contends, or whether the sale of the portrait is excluded*156  by some one or more of the exceptions in the statute and therefore the gain resulting from the sale must be taxed as ordinary income under section 22 (a) of the 1939 Code as respondent has determined.  It will be noted that section 117 (a) (1) defines capital assets as follows: "(1) Capital assets. -- The term 'capital assets' means property held by the taxpayer (whether or not connected with his trade or business) * * *." Clearly the Churchill portrait was property owned and held by petitioner.  True, it was the product of the professional skill and talent of petitioner but nevertheless we think the study portrait of Churchill was property.  But not all property owned by a taxpayer represents *726  capital assets under section 117.  There are certain exceptions to the broad definition of capital assets contained in 117 (a) (1) above.  After giving the broad definition as above set out, the statute goes on to say --but does not include --(A) stock in trade of the taxpayer or other property of a kind which would properly be included in the inventory of the taxpayer if on hand at the close of the taxable year, or property held by the taxpayer primarily for sale to customers*157  in the ordinary course of his trade or business;The Commissioner does not contend that the Churchill portrait was "stock in trade" of petitioner nor does he contend that it was property of a kind which should be included in the inventory of petitioner for, as a matter of fact, petitioner had no inventories. The Commissioner does contend, however, that the portrait was property held by petitioner "primarily for sale to customers in the ordinary course of his trade or business." In arguing that this was so, respondent, among other things, said:Decedent was a professional artist. Income resulting from the sale of any product of his creative talent -- whether it be portrait, landscape or impressionistic painting -- would be ordinary income.  The fact that he did or did not have a commission or contract to do the painting surely could not change the result.To this argument of respondent, petitioner replied as follows:The undisputed evidence is that Mr. Chandor never held a portrait for sale in his life.  He never painted a portrait for sale.  The only portrait he ever sold in his entire life was the Churchill portrait. As only one sale was ever made of a portrait by Mr. Chandor, *158  the conclusion that he was making a sale to a customer in the ordinary course of his business must be based on this one sale.  Just what is meant by the term "held for sale to customers in the ordinary course of a taxpayer's business" has been the subject of attention of the courts.  In Herwig vs. U. S.  * * * [105 F. Supp. 384], the court cites with approval a definition given in Fahs vs. Crawford, 161 F. 2d 315, 317, which reads as follows: Carrying on a business, however, implies an occupational undertaking to which one habitually devotes time, attention, or effort with substantial regularity.The definition is so clear and logical that comment seems unnecessary.  That a single, isolated transaction, the selling of one portrait, put the petitioner (Chandor) in the business of selling portraits in the regular course of business to customers, lacks the faintest logic.  It is also to be noted that petitioner never sold another portrait after this sale to Mr. Baruch.  The petitioner was not in the business of selling portraits to customers in the ordinary course of his business.We think that the question *159  we have here is a rather narrow one.  Both parties refer to it in their briefs as one of first impression.  Both parties cite cases which they say by analogy support their respective arguments.  We have read these cases but do not find them very helpful.  *727  Therefore, we see no point in discussing them.  After a careful consideration of the facts and study of the applicable statute, we have concluded that the issue should be decided in favor of petitioners.Chandor was an artist who had painted a portrait for which he was not to be paid under contract and on which no one had any claim whatever.  The Churchill study picture was painted with no intention of selling it.  When petitioner did sell it under the circumstances narrated in our Findings of Fact, it was the only portrait he ever sold before or after such sale.  Under these circumstances, we think it would be difficult to hold that Chandor was in the business of selling portraits. But even if it be held that Chandor's uniform practice of painting portraits under contract for a fixed fee to be paid when the portrait was completed had the effect of putting him in the business of selling portraits, we still think the Winston*160  Churchill study portrait was not held for sale by him in that business.  The testimony is convincing that it was not painted for sale by Chandor but was a study portrait not intended for sale and that its subsequent sale by him was a casual sale induced by the circumstances narrated in our Findings of Fact.Based on the record, we have made the following ultimate finding at the conclusion of our Findings of Fact:The study portrait of Winston Churchill painted by petitioner Douglas Chandor and sold in 1948 to Bernard Baruch was not property held by the taxpayer primarily for sale to customers in the ordinary course of his trade or business. * * *In our view, that finding has the effect of deciding the only issue involved in petitioners' favor.Perhaps we should point out that the Revenue Act of 1950 amends section 117 of the 1939 Code, under consideration here, by increasing the list of assets which were denied relief under this section.  The amendment reads as follows:(C) a copyright; a literary, musical or artistic composition; or similar property; held by -- (i) a taxpayer whose personal efforts created such property, * * * This amendment would undoubtedly preclude *161  capital gains treatment to the sale of the Churchill portrait here involved, and petitioner concedes that is so, but by its express terms the amendment was made applicable to taxable years beginning after September 23, 1950.  It is, therefore, not applicable to the year 1948, which is before us.Because of other adjustments not contested,Decision will be entered under Rule 50.  Footnotes1. Internal Revenue Code of 1939:SEC. 117. CAPITAL GAINS AND LOSSES.(a) Definitions.  -- As used in this chapter -- (1) Capital assets. -- The term "capital assets" means property held by the taxpayer (whether or not connected with his trade or business), but does not include -- (A) stock in trade of the taxpayer or other property of a kind which would properly be included in the inventory of the taxpayer if on hand at the close of the taxable year, or property held by the taxpayer primarily for sale to customers in the ordinary course of his trade or business;(B) property, used in his trade or business, of a character which is subject to the allowance for depreciation provided in section 23 (l), or real property used in his trade or business;* * * *(4) Long-term capital gain. -- The term "long-term capital gain" means gain from the sale or exchange of a capital asset held for more than 6 months, if and to the extent such gain is taken into account in computing gross income;Regulations 111:Sec. 29.117-1. Meaning of Terms.  -- The term "capital assets" includes all classes of property not specifically excluded by section 117 (a) (1)↩.  In determining whether property is a "capital asset," the period for which held is immaterial.